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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

FLAVA’ CAP LLC,

     Plaintiff,

     v.                                                  CIVIL ACTION NO

ANCESTRY.COM LLC and
ANCESTRY.COM DNA, LLC                                    JURY TRIAL DEMANDED

     Defendants.


                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       1.         This is an action for patent infringement in which Flava’ Cap LLC makes the
following allegations against Ancestry.com LLC and Ancestry.com DNA, LLC.

                                            PARTIES

       2.         Plaintiff Flava’ Cap LLC (“Plaintiff” or “Flava’ Cap”) is an Arizona limited
liability company with its principal place of business at 5900 E. Thomas Rd, #C201, Scottsdale,
AZ 85251.
       3.         On information and belief, Defendant Ancestry.com LLC (“Ancestry.com”) is a
limited liability company organized and existing under the laws of the State of Delaware, with its
principal place of business at 1300 West Traverse Parkway, Lehi, UT 84043.
       4.         On information and belief, related Defendant Ancestry.com DNA, LLC
(“Ancestry.com DNA”) (collectively with Ancestry.com, “Defendants”) is a limited liability
company organized and existing under the laws of the State of Delaware, with its principal place
of business at 1300 West Traverse Parkway, Lehi, UT 84043.

                                  JURISDICTION AND VENUE

       5.         This action arises under the patent laws of the United States, Title 35 of the
United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
1338(a).




                                                [1]
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       6.      Venue is proper in this district under 28 U.S.C. §§ 1391(c) and 1400(b). On
information and belief, Defendants are Delaware limited liability companies, and, thus,
Defendants reside in this District for purposes of venue.
       7.      On information and belief, Defendants are subject to this Court’s specific and
general personal jurisdiction pursuant to due process and/or the Delaware Long Arm Statute, due
at least to its substantial business in this forum, including: (i) at least a portion of the
infringements alleged herein; and (ii) regularly doing or soliciting business, engaging in other
persistent courses of conduct, and/or deriving substantial revenue from goods and services
provided to individuals in Delaware and in this Judicial District.
                                        BACKGROUND
       8.      Years before Defendants ever used a mechanism for the collection of DNA that
included a bottle cap closure with the ability to house and release liquid, Mr. Craig Valentine,
President of Flava’ Cap, began pursuing protection of his invention that combines a bottle cap
closure with the ability to house and release liquid or powder formulations by utilizing a
mechanism within the bottle cap. Mr. Valentine filed the first provisional patent application on
his invention on December 20, 2006.
       9.      In 2008, still years before Defendants ever used a mechanism for the collection of
DNA that included a bottle cap closure holding liquid, Flava’ Cap was created to focus on the
development of the bottle cap product invented by Mr. Valentine and to explore the market
opportunity for Flava’ Cap’s (then) patent pending infusion cap technology.
       10.     Flava’ Cap soon began working on prototypes of the patent pending invention. By
2010, Flava’ Cap was able to build an injection molding tool to better test the design. Design
process was made that advanced the cap design to the point where injection molded caps were
molded and Flava’ Cap began attempts to market the product and enter into licensing discussions
for their innovative technology.
       11.     Flava’ Cap won the Innovation of the Year Award 2011 from the UMKC Small
Business Development Center – Kaufman Foundation.               Marketing and licensing efforts
continued concurrently with the growth of the business.
       12.      Flava’ Cap has since spent years attempting to market or license the product,
including discussions with many Fortune 500 and Fortune 100 companies, as well as working to
optimize production and production costs.


                                                 [2]
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       13.      To date, over 50 major companies from various sectors of industry have entered
into discussions regarding sales or licensing with Flava’ Cap concerning the now patented
infusion cap technology.
       14.      Defendants, collectively, are the “global leader in family history and consumer
genomics.” On information and belief, the majority of Defendants’ revenue comes from the sale
of AncestryDNA “kits,” which are sent to purchasing customers (regular price: $99/each) as a
means of collecting a DNA sample to both bolster Defendants’ world largest consumer DNA
database, as well as to provide the consumer with genetic information that can be obtained from
analyzing the DNA sample against the database. The DNA is collected by having the consumer
spit into a bottle, and then a bottle cap that houses “stabilizing fluid” is screwed onto the bottle.
The bottle cap contains a reservoir opening element that pierces the reservoir when the cap is
screwed onto the bottle, allowing the fluid to drop into the bottle, mixing with the saliva. This
insures the stabilizing fluid is only released into the bottle containing saliva when the bottle cap
is securely screwed onto the bottle.
       15.      Silver Lake Partners purchased a stake in Defendants at a $2.6 Billion
valuation in 2016. http://fortune.com/2016/04/01/silver-lake-buys-into-ancestry-com-at-2-6-
billion-valuation/
       16.      During the current fiscal year, Defendants expect $1 Billion in revenue.
Plans for an IPO have been delayed, but are still pending.
https://www.cnbc.com/2017/09/12/ancestry-com-ipo-delayed-ceo-tim-sullivan-steps-down.html;
https://www.ancestry.com/corporate/newsroom/press-releases/ancestry-ceo-tim-sullivan-
stepping-down
                                            COUNT I
                     INFRINGEMENT OF U.S. PATENT NO. 9,821,938

       17.      Plaintiff is the owner of United States Patent No. 9,821,938 (“the ‘938 patent”)
entitled “Universal Closure Apparatus with Delivery System.” The ‘938 patent issued on Nov.
21, 2017. The ‘938 patent claims priority at least to Provisional application No. 60/870,978,
filed on Dec. 20, 2006. A true and correct copy of the ‘938 Patent is attached as Exhibit A.
       18.      Defendants own, use, operate, advertise, control, sell, and otherwise provide
products and/or services that infringe the ‘938 patent. The ‘938 patent provides, among other
things, “ A bottle cap capable of threadably engaging a bottle having a thread arrangement to

                                                 [3]
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receive said bottle cap, said bottle cap comprising: a cylindrical member closed at a first end
thereof and open at a second end thereof, said cylindrical member having each of a first
predetermined length and a predetermined inside diameter; a threaded portion disposed on an
inner surface of said cylindrical member, beginning adjacent said open end and extending
inwardly a second predetermined length toward said closed end, to engage the thread
arrangement of the bottle; a reservoir disposed inside said cylindrical member adjacent said
closed end thereof to retain a substance therein to be dispensed into said bottle; and a reservoir
opening element (i) engageable with said bottle cap, (ii) operable to abut an uppermost portion of
the bottle, and (iii) operable to pierce said reservoir as said bottle cap is threaded onto the thread
arrangement of the bottle thereby releasing the substance of said reservoir into the bottle; a
retaining ring disposed within said cylindrical member to engage a portion of said reservoir
opening element so that said reservoir opening element is secured within said cylindrical
member, wherein, the uppermost portion of the bottle maintains said reservoir opening element
in a fixed position relative to the bottle when said bottle cap is threaded onto the thread
arrangement of the bottle.”
       19.     Defendants directly and/or through intermediaries, made, have made, used,
imported, provided, supplied, distributed, sold, and/or offered for sale products and/or services
that infringed one or more claims of the ‘938 patent, including at least Claim 1, in this district
and elsewhere in the United States. Particularly, Defendants’ AncestryDNA kit comprises a
bottle cap capable of threadably engaging a bottle having a thread arrangement to receive said
bottle cap. By making, using, importing, offering for sale, and/or selling such products and
services, and all like products and services, Defendant has injured Plaintiff and is thus liable for
infringement of the ‘268 patent pursuant to 35 U.S.C. § 271.
       20.     Based on present information and belief, to the extent the preamble is a limitation
on the claim, the AncestryDNA kit comprises a bottle cap capable of threadably engaging a
bottle having a thread arrangement to receive said bottle cap.




         	
(View	looking	down	on	AncestryDNA	kit	bottle	cap)	
	

                                                 [4]
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(View	looking	at	bottom	of	AncestryDNA	Kit	bottle	cap)
       21.     Based on present information and belief, the AncestryDNA Kit uses a cylindrical
member closed at the first end thereof (top) and open at the second end thereof (bottom), said
cylindrical member having each of a first predetermined length and a predetermined inside
diameter.




                              	
(Viewed	from	side)	




                                                  [5]
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(Viewed	from	bottom)	


       22.     Based on information and belief, AncestryDNA kit bottle cap has a threaded
portion on an inner surface of said cylindrical member, beginning adjacent said open end and
extending inwardly a second predetermined length toward said closed end, to engage the thread
arrangement of the bottle.




                                                               	
(Viewed	from	bottom)	




                                             [6]
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(Alternate	Angle	showing	claimed	threading,	arrow	pointing	to	the	threaded	portion)	




                                                                                  	
(Angle	showing	the	bottle	cap	and	bottle,	notably	the	threading	arrangement	of	the	bottle)	




                                                  [7]
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        23.      Based on present information and belief, the AncestryDNA kit bottle cap
comprises a reservoir inside the cylindrical member adjacent said closed end thereof to retain
the “stabilizer fluid” to be dispensed into said bottle.




                                 	
(Viewed	from	side)	


(Arrow pointing to the reservoir)


        24.      Based on present information and belief, the AncestryDNA	Kit	bottle	cap	comprises	
a	 reservoir	 opening	 element	 (i)	 engagement	 with	 said	 bottle	 cap,	 (ii)	 operable	 to	 abut	 an	
uppermost	 portion	 of	 the	 bottle,	 and	 (iii)	 operable	 to	 piece	 said	 reservoir	 as	 said	 bottle	 cap	 is	
threaded	 onto	 the	 thread	 arrangement	 of	 the	 bottle	 thereby	 releasing	 the	 substance	 of	 said	
reservoir	into	the	bottle.




                                                                                          	

                                                       [8]
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(Angle	showing	reservoir	opening	element,	arrow	pointing	to	reservoir	opening	element)	




                                                                                                 	
https://www.ancestry.com/dna/activate/instructions	


       25.     Based on present information and belief, the AncestryDNA kit bottle cap
comprises a retaining ring disposed within said cylindrical member to engage a portion of said
reservoir opening element so that said reservoir opening element is secured within said
cylindrical member.




                                                 [9]
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(arrow pointing to the retaining ring)


       26.     Based on present information and belief, the uppermost portion of the
AncestryDNA kit bottle maintains said reservoir opening element in a fixed position relative to
the bottle when said bottle cap is threaded onto the thread arrangement of the bottle.




                                                                                                  	
https://www.ancestry.com/dna/activate/instructions	




                                                [10]
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        27.    In the alternative, because the manner of use by Defendants differ in no
substantial way from language of the claims, if Defendants are not found to literally infringe,
Defendants infringe under the doctrine of equivalents.
        28.    Defendants’ aforesaid activities have been without authority and/or license from
Plaintiff.
        29.    In addition to what is required for pleadings in patent cases, and to the extent any
marking was required by 35 U.S.C. § 287, Plaintiff and all predecessors in interest to the ‘938
Patent complied with all marking requirements under 35 U.S.C. § 287.
        30.    Plaintiff is entitled to recover from Defendants the damages sustained by Plaintiff
as a result of the Defendants’ wrongful acts in an amount subject to proof at trial, which, by law,


                                               [11]
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cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court
under 35 U.S.C. § 284.
                                    PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests that this Court enter:
       1.      A judgment in favor of Plaintiff that Defendants have infringed the ‘938 Patent;
       2.      A judgment and order requiring Defendants to pay Plaintiff its damages, costs,
expenses, and prejudgment and post-judgment interest for Defendants’ infringement of the ‘938
Patent as provided under 35 U.S.C. § 284;
       3.      An ordering for an accounting of all infringing acts including, but not limited to,
those acts not presented at trial and an award of damages to Plaintiff for any such acts;
       4.      A judgment and order finding that this is an exceptional case within the meaning
of 35 U.S.C. § 285 and awarding to Plaintiff its reasonable attorneys’ fees; and
       5.      Any and all other relief to which Plaintiff may show itself to be entitled.

                                  DEMAND FOR JURY TRIAL

       Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
any issues so triable by right.


                                               Respectfully Submitted,
                                               FLAVA’ CAP LLC

Dated: March 23, 2018                      By: _/s/Stamatios Stamoulis __________
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